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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

  SETH DANIELS,

   Plaintiff,
  v.
                                                CASE NO.: 8:25-cv-00466-JSM-LSG
  EQUIFAX INFORMATION SERVICES
  LLC, EXPERIAN INFORMATION
  SOLUTIONS, INC., and TRANS
  UNION LLC,
   Defendants.
                                        /

                NOTICE OF SETTLEMENT AS TO DEFENDANT,
                EXPERIAN INFORMATION SOLUTIONS, INC.

       COMES NOW Plaintiff, SETH DANIELS, by and through undersigned

 counsel, and hereby notifies the Court that Plaintiff and Defendant, EXPERIAN

 INFORMATION SOLUTIONS, INC., have reached a settlement with regard to this

 case and are presently drafting and finalizing the settlement agreement, and

 general release or documents. Upon execution of the same, the Parties will file the

 appropriate dismissal documents with the Court.



 Dated this 25th day of March, 2025.
                                                 /s/ Octavio Gomez
                                                 Octavio “Tav” Gomez
                                                 Florida Bar No.: 0338620
                                                 Georgia Bar No.: 617963
                                                 Pennsylvania No.: 325066
                                                 The Consumer Lawyers PLLC

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                                              Tav@theconsumerlawyers.com
                                              Attorney for Plaintiff

                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that the foregoing document was filed on this 25th day

 of March, 2025 via the Court’s CM/ECF system which sent electronic notice of such

 to all parties of record.

                                              /s/ Octavio Gomez
                                              Octavio “Tav” Gomez
                                              Florida Bar No.: 0338620
                                              The Consumer Lawyers PLLC
                                              Attorney for Plaintiff




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